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 2   CHRISTOFER C. NOLAN, SBN 229542
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 6
 7   Attorneys for the California Public Utilities Commission and
     Marybel Batjer, Martha Guzman Aceves, Clifford Rechtschaffen,
 8   Genevieve Shiroma, and Darcie Houck in their official capacities as
     Commissioners of the California Public Utilities Commission
 9
10
                             UNITED STATES DISTRICT COURT
11                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                          Case No. 14-cr-00175-WHA

15                                                      CPUC MOTION FOR LEAVE TO FILE
                              Plaintiff,                AMICUS LETTER
16
            vs.
17                                                      Courtroom:    12, 19th Floor
     PACIFIC GAS AND ELECTRIC COMPANY,                  Judge:        Hon. William H. Alsup
18
19                            Defendant.
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                  CPUC MOTION FOR LEAVE TO FILE AMICUS LETTER
                                                                       Case No. 14-CR-00175-WHA
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 1          The California Public Utilities Commission (“CPUC”) hereby seeks leave of the
 2   Court to file an Amicus letter regarding the new proposed terms of probation for defendant
 3   Pacific Gas and Electric Company (“PG&E”). Federal courts have inherent authority to
 4   entertain Amicus briefs. In re Bayshore Ford Truck Sales, Inc., 471 F.3d 1233, 1249, n.34
 5   (11th Cir. 2006).
 6          The CPUC’s proposed letter is attached hereto as Exhibit 1.
 7
 8                                               Respectfully submitted,
 9
10                                        By:    /s/  Christofer C. Nolam
     March 29, 2021                              AROCLES AGUILAR
11                                               CHRISTINE JUN HAMMOND
                                                 CHRISTOFER C. NOLAN
12
                                                 Attorneys for the CALIFORNIA PUBLIC
13
                                                 UTILITIES COMMISSION
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                  CPUC MOTION FOR LEAVE TO FILE AMICUS LETTER
                                                                        Case No. 14-CR-00175-WHA
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                 EXHIBIT 1
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             CPUC MOTION FOR LEAVE TO FILE AMICUS LETTER
                                                       Case No. 14-CR-00175-WHA
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STATE OF CALIFORNIA                                                          GAVIN NEWSOM Governor

PUBLIC UTILITIES COMMISSION
505 VAN NESS AVENUE
SAN FRANCISCO, CA 94102-3298




March 29, 2021


VIA ELECTRONIC MAIL


Honorable William H. Alsup
United States District Court
Northern District of California
Courtroom 12 - 19th Floor
450 Golden Gate Avenue
San Francisco, California 94102

          Re: Proposed Probation Conditions 11 and 12 in Case No. 14-cr-00175-WHA

Dear Judge Alsup,

The California Public Utilities Commission (“CPUC”) wishes to inform the Court that the CPUC
intends to review – on an expedited basis for the 2021 fire season – Pacific Gas and Electric Company’s
(“PG&E”) proposed methodology and plans for implementation of the use of tree over strike data in the
company’s process for calling PSPS events. The CPUC’s expedited review will subject PG&E’s
proposal to a robust examination of the assumptions PG&E used to develop the proposed methodology
as well as the resulting impacts to the size, frequency, and duration of PSPS events under this
methodology. The CPUC’s review will also consider the adequacy of existing mitigation measures and
consider new mitigation measures to address public safety perils stemming from a Probation Condition
that would expand PSPS. Most importantly, the CPUC’s process will enable vital and integral
stakeholders to provide input on all aspects of the proposal.

The CPUC’s process could order PG&E to provide transparent reports on its implementation of the tree
over strike methodology, order the prompt modification of PG&E’s PSPS methodology based on lessons
learned or updated verified data, and even order limitations on PG&E’s use of the tree over strike
methodology or any other aspect of PSPS, if the public interest requires it.

The CPUC’s regulatory authority over PG&E is broad and plenary. “The regulation of utilities is one of
the most important functions traditionally associated with the police power of the States.” Ark. Elec.
Coop. Corp. v. Ark. Pub. Serv. Comm’n, 461, U.S. 375, 377 (1983). PSPS is a matter squarely within
the CPUC’s scope of responsibility and authority.

PSPS is a vital wildfire prevention and mitigation tool that electric utilities can use, but PSPS itself
raises serious public safety consequences by potentially impairing emergency services, water pumping
           Case 3:14-cr-00175-WHA Document 1368 Filed 03/29/21 Page 5 of 11

Hon. William H. Alsup
March 29, 2021
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capability, and communications infrastructure. See ECF Nos. 987 at 23-33 of 150; 1217 at 20-22 of 29;
1311; 1314; and 1349. The CPUC is years into an ongoing and iterative public process – through
several formal proceedings and informal processes – of improving PSPS as a tool of last resort, while
mitigating the safety hazards that flow directly from the use of PSPS. See ECF Nos. 987 at 16-18 of
150; and 1314 at 6-7 of 27. At present, the CPUC has pending two formal proceedings to consider
PSPS policies: Rulemaking 18-12-005, “Order Instituting Rulemaking to Examine Electric Utility De-
Energization of Power Lines in Dangerous Conditions,” and Investigation 19-11-013, “Order Instituting
Investigation on the Commission’s Own Motion on the Late 1029 Public Safety Power Shutoff Events”
– and now the CPUC is pursuing the instant expedited process to consider the tree over strike factor
proposed for PG&E’s PSPS modeling.

Still other CPUC proceedings have addressed and continue to address the entire suite of tools to prevent
and mitigate wildfire risk: Wildfire Mitigation Plans; development of microgrids; financial assistance
for battery and backup power support; root cause analyses and the System Enhancement Initiatives
ordered alongside the $1.937 billion penalty imposed in the CPUC’s prosecution of PG&E’s role in
igniting 2017 and 2018 wildfires, among other measures. See generally ECF No. 1217. And the CPUC
must balance all these tools within its exclusive ratemaking authority. In public utility regulation,
safety, service reliability, operations, and ratemaking are never considered in isolation. See ECF 987 at
6-11 of 150; see also Cal. Pub. Util. Code §§ 399.2(a), 451, 701, 1759; and 8386(c)(6).

The complexities surrounding the safe and effective use of PSPS in the far-reaching and closely
integrated public utility sphere are well appreciated by the United States Supreme Court, which has
stated that state public utility commissions

               must be free, within the limitations imposed by pertinent constitutional
               and statutory commands, to devise methods of regulation capable of
               equitably reconciling diverse and conflicting interests.

In re. Permian Basin Area Rate Cases, 390 U.S. 747, 767 (1968). Along these lines, this Court (Hon.
Haywood S. Gilliam, Jr.) recently affirmed dismissal of a class action lawsuit against PG&E for
conducting PSPS events and determined,

               Under California law, it is the job of CPUC to balance the costs and
               benefits of PSPS events and regulate them accordingly. And it is not the
               job of the courts to regulate PSPS events through ad hoc imposition of
               negligence liability.

Gantner v. PG&E Corp., et al., No. 20-02584-HSG, slip. op. at 9 (N.D. Cal. March 26, 2021), notice of
appeal docketed (March 26, 2021).

The critical importance of balancing multiple and at times competing stakeholder interests necessitates
the CPUC’s regulation of PG&E’s use of PSPS through a public process, in order to fashion the most
thoughtful and flexible proposal that avoids or rapidly responds to unforeseen consequences.
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Hon. William H. Alsup
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Attached here is a copy of the CPUC’s letter to PG&E dated this day, March 29, 2021, directing PG&E
to prepare for the CPUC’s expedited public process to consider PG&E’s use of the tree over strike data
in determining whether to call a PSPS event. The first order of business will be to hold a public
workshop in April, so that the tree over strike proposal can be considered for the 2021 wildfire season.



                                             Sincerely,



                                             /s/  Christine Jun Hammond
                                             AROCLES AGUILAR
                                             CHRISTINE JUN HAMMOND
                                             CHRISTOFER NOLAN

                                             Attorneys for the
                                             CALIFORNIA PUBLIC UTILITIES COMMISSION


Attachment
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STATE OF CALIFORNIA                                                         GAVIN NEWSOM, Governor

PUBLIC UTILITIES COMMISSION
505 VAN NESS AVENUE
SAN FRANCISCO, CA 94102-3298




March 29, 2021

                                                      Via Email: MEAe@pge.com

Meredith Allen
Senior Director, Regulatory Relations
Pacific Gas and Electric Company
77 Beale St.
San Francisco, CA 94105


Re:       United States of America v. Pacific Gas and Electric Co., U.S. District Court,
          Case No. CR 14-00175-WHA (N.D. Cal.).

Dear Ms. Allen,

We write to you in regards to Pacific Gas and Electric Company’s (PG&E) ongoing criminal
probation proceeding pending before the Honorable Judge William Alsup, United States of
America v. Pacific Gas and Electric Co., U.S. District Court, Case No. CR 14-00175-WHA
(N.D. Cal.). This letter serves as notification that the California Public Utilities Commission
(CPUC) is directing PG&E to work with CPUC staff to initiate an expedited process to review
PG&E’s proposed implementation of proposed Probation Conditions 11 and 12 for the 2021
fireseason, in the event that PG&E should be subjected to these new or similar conditions.

The CPUC is concerned that PG&E’s proposal for incorporating tree density (aka, tree over
strike, as PG&E has represented its method to Judge Alsup) as a factor in calling PSPS
events will dramatically expand the scope of Public Safety Power Shutoffs (PSPS). PG&E’s
proposalruns counter to CPUC policies and directives that electrical corporations utilize
PSPS only as amethod of last resort and move towards smaller and shorter PSPS events when
they are necessary. It is therefore critical that the CPUC consider PG&E’s proposal so that
we may effectively monitor PG&E’s ongoing implementation of PSPS, including any
additional de- energizations that will result should PG&E be subjected to the modified
Proposed Probation Conditions 11 and 12 as currently proposed.

The CPUC will accordingly conduct an assessment of the methodology PG&E is considering
to de-energize power on all circuits in High Fire Threat Districts within the top 70th percentile
of a LiDAR-based assessment of the number of trees with strike potential on a distribution
line. Thiswill ensure there is a robust examination of the assumptions PG&E used to develop
the proposedmethodology along with the resulting impacts to the size, frequency, and duration
of PSPS events; an opportunity to require additional mitigations to reduce the public safety
       Case 3:14-cr-00175-WHA Document 1368 Filed 03/29/21 Page 8 of 11
Ms. Allen
March 29, 2021
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impacts of PSPS disruptions; and that the balancing of such decisions will be made with the
benefit of inputfrom critical stakeholders and subject to ongoing CPUC oversight during the
forthcoming fire season.

PG&E is directed to work with staff from the CPUC’s Energy Division and Safety and
Enforcement Division to initiate an expedited process for CPUC review of PG&E’s
implementation of any probation conditions that may be imposed by the federal District Court.
Please contact Forest Kaser, supervisor in the Energy Division, for the purposes of organizing a
workshop to take place in April 2021 to review and receive public input on PG&E’s proposal.
Mr. Kaser is available at 415-703-1445 or forest.kaser@cpuc.ca.gov.

Sincerely,




 Edward F. Randolph                                   Lee Palmer
 Deputy Executive Director for                        Director for Safety and
 Energy and Climate Policy                            Enforcement
 DivisionDirector, Energy Division



 cc:     Service List (R.18-12-005)
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 8   Genevieve Shiroma, and Darcie Houck in their official capacities as
     Commissioners of the California Public Utilities Commission
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                             UNITED STATES DISTRICT COURT
11                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                          Case No. 14-cr-00175-WHA

15                                                      CPUC CERTIFICATE OF SERVICE RE
                              Plaintiff,                MOTION FOR LEAVE TO FILE
16                                                      AMICUS LETTER
            vs.
17
     PACIFIC GAS AND ELECTRIC COMPANY,                  Courtroom: 12, 19th Floor
18                                                      Judge:     Hon. William H. Alsup

19                            Defendant.
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                                                                       Case No. 14-CR-00175-WHA
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      Case 3:14-cr-00175-WHA Document 1368 Filed 03/29/21 Page 10 of 11




 1          I am a citizen of the United States, over 18 years of age, employed in
 2   the City and County of San Francisco, and not a party to the subject cause. My
     business address is the California Public Utilities Commission, Legal
 3   Division, 505 Van Ness Avenue, San Francisco, California 94102.
 4
           On March 29, 2021, I sent the following documents:
 5
 6      1. CPUC MOTION FOR LEAVE TO FILE AMICUS LETTER;
 7      2. CPUC CERTIFICATE OF SERVICE RE MOTION FOR LEAVE
 8         TO FILE AMICUS LETTER
 9
     to the following interested parties by email:
10
           Maria Severson, Esq.
11
           Michael J. Aguirre, Esq.
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           Email: maguirre@amslawyers.com
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                 CPUC MOTION FOR LEAVE TO FILE AMICUS LETTER
                                                              Case No. 14-CR-00175-WHA
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       Case 3:14-cr-00175-WHA Document 1368 Filed 03/29/21 Page 11 of 11




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 8         csandoval@scu.edu
 9
10
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12
     I declare under penalty of perjury that the foregoing is true and correct.
13
14         Executed on March 29, 2021, at San Francisco, California.
15
16                                    By:    /s/  Christine Jun Hammond
                                             AROCLES AGUILAR
17                                           CHRISTINE JUN HAMMOND
                                             CHRISTOFER C. NOLAN
18
19                                           Attorneys for the CALIFORNIA PUBLIC
                                             UTILITIES COMMISSION
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                                                                 Case No. 14-CR-00175-WHA
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